                                                                                 Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 1 of 38



                                                                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Yebowe [3 in 1] Cute Smiley Face Case for iPhone 11 with Screen Protector+ Preppy Beaded Phone Charm, Soft TPU Clear Aesthetic Protective Cover Happy Smile Face Design for Women Girls : Cell Phones & Accessories

   URL
   https://www.amazon.com/Yebowe-Smiley-Protector-Aesthetic-Protective/dp/B0B28SSCS5/ref=sr_1_121

   Collection Date
   Wed, 19 Apr 2023 10:17:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qjEXdA2vw7Dua/MDt9dl/hyHs+lkkzZ1o4uRj5ibT0DAJpNOPLY3/py6Zq0vGjyX3pFlXwwjGqEa02QddaWye4moQApccPuaTdNHsB5AHqIGKppUhWE4RYxxNu77cBUPohDmIrVS5T9VQvh8W5HoP4i46Nz1k9mHlIw32Hi+880=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Yebowe-Smiley-Protector-Aesthetic-Protective[fs]dp[fs]B0B28SSCS5[fs]ref=sr_1_121]]_Wed,-19-Apr-2023-10-17-55-GMT.pdf

   Hash (SHA256)
   18f0193ec1e8a494adfe557417d9b4b6a4eb04d83f20f0ea116595d74a24bb8f

   Signature (PKCS#1v1.5)
gf6R6cYtXr4B8fsWWJQCS7x4LIRTwmzplPADiQzW4SgejvFi/+gbRPKl0HC1txF1AzdyfR1mVzBJ41TyI9ind/CNMhQ0RgGKGqZftzCmXUl5KE0GmZ1iI1EXKkCJeZSirFPwLyxFTog1pPa6aE4bYdcyx7W90kJNDmdkA5GADzg=
                                                                                Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 2 of 38



                                                                                                                                                                                                              Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 08 May 2023 08:37:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   tsGPCxyw26irwlj7Vk9EJVhSU/YzJU+SH49BqOSr5xF2MBKxj9+KYaIKpfI1FEf+pwb8zX8D0WhgEMxzlrRzFP/9HttkTMlMy1TRdGJRz8kUXkQHKCjgPN1nOfUyv2tBXBfc85TQXEJHq7XuXsRz6rIAuOjUiPVdd6+xCossv2ox2OZ3IOgN/AkhyPvwZBfSu0d6ZQ3/
   mkCUa1HginVBg1SskvPsAYki1YSk0q6IqXnrLWomaCkQ6FCiqtJRFBAF8Z01WO6RkUkS3bkJ4qmCCMDRqnXuV+yH+6JRwBLs3If1rZ9pfI88woDJGDOFiDGSvrt6iuFtTehM1xvYJxY13Q==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-08-May-2023-08-37-54-GMT.mhtml

   Hash (SHA256)
   e408656064ae78ad59c178b39cd2c064751bb648ce589b0a933c5243fa6976b8

   Signature (PKCS#1v1.5)
N95bRbNpMrl+khM9t7fxZUosPRDmG/ku2WAjNnkf212cOJh9XqZgSaDrqabOK/cdN7RJjcJIzGvRRNrPS2FEsWen7OTK0FKvhgcv8xyOiFfpPdJvtoQ14VDWR1VP6zmN2LEF83IN2KpLgazH/jPWe/w2aQIw
+ubuKFS2ODgMpn8pG1XYZJw4XJrqNsjtw6vWFxHBLEJM0wBJA072FzQ9SwYJqWSY39dfZVb4uISNxej9QW3f+KQQdm2MoW6cyP/ZE8mSYSL97HWsq/lhagHmRnfvvdFkWnSDA2oBQWNuyhXFvS9hDMOt5FWryzOcqmU7GRU4q2JkNXEY7o2ou0RmxQ==
                                                                                Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 3 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: YeGieonr Women Good Luck Smiley Face Ring Happy Face Stackable Ring with Cute Chain Link Band | Yellow Gold, SIZE 8: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/YeGieonr-Women-Smiley-Stackable-Yellow/dp/B08TM9Q432/ref=sr_1_19_sspa

   Collection Date
   Wed, 19 Apr 2023 11:37:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UOdJaIGpAPCTxqn0+53KbHkR2WPt6QAxsuw/EEbWyPQ4gGGpOLn3IpT81L1iybxE//CU6CqgD60qVaEAzfHmtctAVGRCO5XAnxN4XRwQ7C2Eds3o3+WVMcBXhdl2u6ku5A0GEyrav12mrs3uUVZKcduBb3RKHgsuzsOdL4SQMGI=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]YeGieonr-Women-Smiley-Stackable-Yellow[fs]dp[fs]B08TM9Q432[fs]ref=sr_1_19_sspa]]_Wed,-19-Apr-2023-11-37-44-GMT.pdf

   Hash (SHA256)
   9c96bde15e4561a5c921a311e566c5b87f291a83fb35d2bbd5f6f9e21eefaa81

   Signature (PKCS#1v1.5)
ONv7OlUeAHzCnbyLJc8hOwM2yeFsbIoo9028E2jzg1KrpndCUkrUS4R2O80yY/NVg5Jthpi8+YqyboQGMzq443Ja5/XNnj5Tmj7zIUh8yapB6BLeBrja7YT648uKNB9Bv2A8KnPkgy5tH3vqdtd9hHBnw9Thr6sADhOjCY105QU=
                                                                                 Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 4 of 38



                                                                                                                                                                                                         Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 11 May 2023 10:29:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.40.99

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JAD2Gysrc3yGHus6AE+VEV3UFMmia/PG5T6e6W2Q73wWZLvAVqHalbktRRm14laU6LpLk7+Xfcvex4lDxKJIlJehII1unc/YnQ+qh5SAdGwCGkY/tZdOhif1usoi6jPDEXdd7JAnkio+U2y+OGlBDHuOB5ZrJaQl4ZkzyaV9eQBlrS/j27AdCEHNgIG3MM/
   yqoi1VOnra0KOzVUApzd3Zim89JTDB1Tr03OWLBTlPl+FqK0a0SJdfd3B+ijqpPO6pA51SxnbT4KpsyzYx2HiulCqE4esdjiYt55LTObu5TyWRk7Pz4gaihV8B8uCDizTduRecPfhHdjP0FLFAcvq+g==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-11-May-2023-10-29-56-GMT.mhtml

   Hash (SHA256)
   0f19d54c1285d5e040b55494bd42ff603c7d3e76fa3d0306a883308ac89fcc88

   Signature (PKCS#1v1.5)
cbTsexK4aywIZpnmvy/TVGORkQOScoL3un9e9Xzr5aYk1xeeQYohteyS2E3ph3fxxGz4n/niI9mvfWe7Hfatn8aqa4lHRSyiuAfCQa4A1xtGxZTo9nrF4ZZb/
os4QZKD31UDTbtxpiuPUIE3G54XXX3UE5KWiDa3746N3ZyuHJvLqz9u9SRgK4MPXJjsJ9HJYoavwv7eQTVGrX5m1rSZJuflNRkYJaUGoOFjLMng13ePI2e4oM1LhaeHaNIJ25m13C1UBxiUA9XdkumHQEjve6ccP8ppNJMw6zG5IM9XvFWC4t9lSVxdn3FWkchc7azlxbM3DX7rn
+CQfQkwO6Js3Q==
                                                                                Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 5 of 38



                                                                                                                                                                                                                                   Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Retro Smile Smiley Face Good Vibes Only Throw Pillow Case 18″×18″,Inspiring Groovy Hippie Faces Decorative Cushion Cover for Home Living Room Girls Room School Dorm,Gifts for Women Girls Teens : Home & Kitchen

   URL
   https://www.amazon.com/Smiley-18%E2%80%B3%C3%9718%E2%80%B3-Inspiring-Decorative-Cushion/dp/B0BYP8WBDR/ref=sr_1_62_sspa

   Collection Date
   Tue, 09 May 2023 08:50:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GoDWAKhqgT8fP6ii1mDQD+AORhxpKEaenvxplsHbIXTGhvnPjiHrsAwbKhBJBat5pN4/2SIIid59Re7FtUrfHT3mikd9bIb3cYPaG0/af6yGUJLnZsd1N6bs7NKyumSHTbHXtys2KGwppGLuC7hMkwupjwsdhArxbvD+VUZ6+TQ=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-18%E2%80%B3%C3%9718%E2%80%B3-Inspiring-Decorative-Cushion[fs]dp[fs]B0BYP8WBDR[fs]ref=sr_1_62_sspa]]_Tue,-09-May-2023-08-50-56-GMT.pdf

   Hash (SHA256)
   3f102b3127c9d358524ff578df92ada317973b38c3e9ef70a943193a38fddf18

   Signature (PKCS#1v1.5)
sGLo1uQorUQwvQVHgM114OmrIoklYx4Z5Lhj0lnvjqhoRnI4McYaFO8ZH3IFgeQrxOR97tb1TxdYBaTgUd51n1wC6GApmuyUeQ538mk+0L82BqDCJSpNOsUsQ0T+pUWHyLO8N9A+IB8ggazn2ow2EV8t/8KCQtXSAipxQrm720E=
                                                                                 Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 6 of 38



                                                                                                                                                                                                Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 13 May 2023 13:32:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   sW09gSCdovsSXaRcwAYHKYQCktRRFxjgmn1gbjxWymbjQlj1s/OgWbBt3p2muu5SRsgj9FQtar3+ZBMnXp2DoDr6E8DeVSABm69ymMt7wCUazwC+APhk+fo5OF2purSgWURlqPQH8KNSmaCQkzUO98N0PYRI1J+HUC/ApnEojiv7T/
   I6SKz2s2OredAy2EiQjVUL5Nm8TOcsi3iWHMBOcxaakklFjzjBnZTXCUc+sa7CsvR86++GW2HUiUMCM9MFoUvAbN0S1zFKAiUUAv9Jc4njSPkhqHatf2rP0iEd69cKvRNQqg9KDWbfQQOVTNUo5V7JNUlAgqZx9iSm1R+H/A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-13-May-2023-13-32-06-GMT.mhtml

   Hash (SHA256)
   ea0bfc543445eb041f91572a0869417412fd266f4c081c7ffbf0f1f0df63a1f3

   Signature (PKCS#1v1.5)
o0MgqY96nxtPsHYQnGPhl6I+HYyHtxxOMeo3dUTo16EFjrvrMoXYlZGh91xbG8EkUhGBJi9rvtfmETkgyM4L4nvktLXC3lXq3WM4EYWHiU/I5QWC2RycEt7wTBxC2NoOFFqs9iOah0vHhdxTn7dQhYYUY/X
+h7Hc3SpamxFzoZSsrCAydo1DAInq0CmB2IFv4ZG0SjZl9IaH7qNm3KKBKCGs9+va9DTCX5lp7FBqnXlRK/fWz+FhA7FLg2BVLFP2ZyGPPYmiS4VcKq15roqzMycpyBr5/VoEQ9cgKx3CAEN2rqVZgMGJhNWq5AueQQFfueKDMBzZXcgYj8xaXurKCA==
                                                                                Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 7 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   HUDENRTV New Unisex Smiley Face Socks,Drew Socks 4 Pairs Adult Athletic Casual Breathable Socks Couple Sports Socks (3 Pairs A) at Amazon Men’s Clothing store

   URL
   https://www.amazon.com/HUDENRTV-Unisex-Smiley-Athletic-Breathable/dp/B0BG97QG54/ref=sr_1_275

   Collection Date
   Fri, 21 Apr 2023 09:34:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   e+JNDyNK+NcUmWsaOfeK7vWeR4f/vjpsoOGn4qgiMHlnwt2NIiA7gtElc9WlzbkpRXFy1ER2Cet3r1a+GQcxULo5HqtgC1M+Sq+XpyRNAprWx6CefkVKpPfH4rmD8Y0B+ijYVybjHgCaKuWZgWVDDyyK9t/dN9o/d6qMYMGG6xs=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]HUDENRTV-Unisex-Smiley-Athletic-Breathable[fs]dp[fs]B0BG97QG54[fs]ref=sr_1_275]]_Fri,-21-Apr-2023-09-34-38-GMT.pdf

   Hash (SHA256)
   b65549ce6f3ca84c78be095b51d56e4c32b131c7468867dfdc378098fd5a0427

   Signature (PKCS#1v1.5)
b9G0XlmOSYy8kvJVqtdAPbVB8UkdDD9NScT4vN1lSIlwK9wYL8ZWo8hZNSchvsAwxWq6TNH1un9HDh45Y4MG9DcJ/ZXeqEtGKFkfhXgk13DUhoa45FsttFcAejt88t3sMlR2plbrIcw9JpgNXcW75TryTw8mpUzi99WDAoQ18xI=
                                                                                 Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 8 of 38



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 23:03:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   A8J4UWtd5IOhEM+FN8VUhK0PNWJNunEB4WHVaMvcSGxYlryyjLbZ3rBEFQPj5WfO9r/C9XFanqfH5jYW1aOdQmWrx+dE3qk79EEUmH0mG+ZMDHqxOSKw8ImvKmXP1fSBf8F9mrGjDtU4xhUwqvzYT8R/eDv77bEGpKofrXL4Vsj98P9pBE7S+L2Mfe4gxB8oFFl7vzA/
   V7Ny0PoVNWmOw77PWh0zW1i7VQdGhcSd/TCYalQzL93A++b15XB7F3kauZBinxZwfK5+Ff6CVJLOhS/ntmnRe0WBS216iScM26DJuAAjuB9ah0JawxB9NTnRXCok6WO2nZBe42+xTqE4+Q==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-23-03-35-GMT.mhtml

   Hash (SHA256)
   ebbe540ffd26ffc15c341874ad38faa34c3ab78582b24e991313ca99ed66ce70

   Signature (PKCS#1v1.5)
KyRqh4PWBUB2Gw09JBWDE1R5ZIy7O/5659oJgdmMRVeVq+kQ4g6VQAQNjKDc1KGEorAvBvSn9pF7xWPfEmFebCe4q9YuLKawkiU4OGH6t7NbIPOMSoOeDXtuEe258PJLKAQCqDQ+ZmM1lWg5DkYDenVv0w+d1Dsp6ZnExuom4+GcX34tFPei/7wjRPwsgwcLVXuXxAdMU4axZNZbtOTwDH/
ILqdEwpiHcIGLv0b2JtLmZ+h82wmV4q2Zb6DQ4pcmbRH8r1nfIx31bL7Kr31nNyfFyRDqAFm+Uct5eoX46qMTiHPCgTONg99XMLrExJlDvenPLAZe585bWdSX3Y2kFA==
                                                                                Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 9 of 38



                                                                                                                                                                                                   Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: YEYULIN 100pcs Colorful Sun Flower Smiley Face Beads Polymer Clay Spacer Beads for Women Girls Jewelry Making DIY Bracelet Necklace Hair Clip Accessories : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/YEYULIN-Colorful-Bracelet-Necklace-Accessories/dp/B095YSB85G/ref=sr_1_52

   Collection Date
   Wed, 14 Jun 2023 11:01:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nl5SiLkc4IMD5ONqIVPMPIpHutTJwtRSYcdnR4g3ggOJLmn3kOPgHzCVRDdN6gd84Y7eK63ZOmp4xGpdrAnCOGPRENZtEsje20V4vhzUbicGb7QyGvy6QNxbIArdrxYg1RWsD7Yhr2J0UWXvYC2SJki9g9NSpts9tz8nl4b6uMI=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]YEYULIN-Colorful-Bracelet-Necklace-Accessories[fs]dp[fs]B095YSB85G[fs]ref=sr_1_52]]_Wed,-14-Jun-2023-11-01-10-GMT.pdf

   Hash (SHA256)
   aff8e2d3e1ee226a8fbc22d8756d171d9b4cfe0c9bb3a07c94663145a521b7ec

   Signature (PKCS#1v1.5)
KMzHc4A5160y4W4kcFP4JV/CxeNN+pzf5Pn391yM7/j38bT7oDuYaCUOThil00Q8TtwuxTVqbLKB9bAk5kiOQITbcWzS0TX07GK3PZhEHmvuy3jN3ovdGe7d6RaT9NgtC//smTRQunyO6DOy2+ckdFHvIL1kkI3cFHBHvrnA7bE=
                                                                                Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 10 of 38



                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 06:58:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   eMWgDgUrj2oh4OekPCYj07Bb2rujheIrVOefS96RciMTBiUwxKJ7ONoMJEksBzWcS5JvDVCIGVbjT2eQo6A2kL4BD0yiPawT6zH1Dc2v12A/gO5c/xk2AfAfdY1fMdejfdJqCfio7j8+TaSzbiimNrumObM1y7RxijKFsJxAB9kOzRHyH8K9EbsnV
   +H1OfQwrjBgRPnj1S515SWVz9OYG5mJ52LmoP65BUSCQMjVGPzd1LHoLHoJliTjWBo4GCQppuqXUwUvIVC3SHM34uHC6wKhXzOwpPC50KztIiDhG4n8bs24wJWBAq7jtbAGMcNci5lfeqDHrJEoRvMiw0vP8w==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-06-58-37-GMT.mhtml

   Hash (SHA256)
   f84868b50eb1df0bf9551dcec94560c796769d2ccfedb77c3dc2432afef37a36

   Signature (PKCS#1v1.5)
V2kYH++xDZoCbfXGPXAfdufGoCYZdtpqrr3rNk9/tL1yWiXk7+li2m7+ic2hWNfUazS/Q0qR6csmXlfDxKLvFD/P7PrsYICogoUUrvbvC6aN6nfFxtgOErPRDerT316ScTVwWMxYCSd+rVCk6hR+yqoJWbG5FWLBoCT9z4IQaefv8NZ/
Tt8V9FGYqfTvv8vhuFpXGrXYOi6qkWmFPLc1qnkdqOyLPZLKCPhu4fuh8Eh6phsQJBu87+GOKL0knMWU2/PrJZ48AQxmZs+zIGQ5gv6sdjiWBESPDL3kdQHB6kQ7po72r61eDSlCINhVFrga+OX7D1Q0RnoKUUgUvj0TSQ==
                                                                                Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 11 of 38



                                                                                                                                                                                                                        Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: YIKODA Smiley Face Duvet Cover Twin - Soft Microfiber Twin Bedding Duvet Covers Set 2 Pieces with Zipper and Ties Trippy Checkered - 1 Comforter Cover 68x90 inches and 1 Pillow Sham : Home & Kitchen

   URL
   https://www.amazon.com/YIKODA-Smiley-Face-Duvet-Cover/dp/B0C1GVPKQX/ref=sr_1_198

   Collection Date
   Tue, 09 May 2023 09:42:23 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZfbUrOhSPL7bxsBjU7stBg15S5DrXYXhaiCuJ/2Y01pTt6zIZX5SYlBFws73YIcZH7Ml3P27yIZNZvOo5Q1Wpin0+lt3/rRv9RqRiyObAoyKdU3AB+s1r1BlD6FdoedVay3DWjPjJQVW1E78BJvctnX+bA/mmwvLwLeOp33Ch/4=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]YIKODA-Smiley-Face-Duvet-Cover[fs]dp[fs]B0C1GVPKQX[fs]ref=sr_1_198]]_Tue,-09-May-2023-09-42-23-GMT.pdf

   Hash (SHA256)
   3f8169e51b004ae571972d0cbb593ac2544f73634f4d76728c5c67bf062ba53f

   Signature (PKCS#1v1.5)
Qwb8/+Bvrg9rkZjyonr2O4JNoT1n5tgqJLB1JT7z35S/XtUpLa85BuQMoAHGHXDIcGQOJ2A+S2+d8XR5zpyMqYKJHqzMrOJfv5YXUFZfQ+ZmQPhNWVAt4vevliyE2kCQiizeROHnwTEWon5dy4KAl9Pg7exXMSrORwWZtV58/V4=
                                                                                Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 12 of 38



                                                                                                                                                                                                                Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 06:02:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gaY1U6GhVYiBoXn3Bi7z57bbcH/7SsdzpV/j9t+b0xM8cdSecHkuPIRA8E/PI7HJVY4vtqUr05sLLhsng4s9U5jBNKi+o19OIQUkXcOLlbRBx6ZJxJTVe5wwRKED3QQMTyEEyqA39VIDr3ZDDUw1FURh6P48GTb2cGQD2998+c+suH2//
   Mn5DglOicbkUdmEbyPJ3DezAc0YrD0rQUVyRxTAHE0ThHLIQIqGkHdQEjsll18gWuNXwvz8F8PxmzkDAJgF9VErs8/KoKP92AZuJyT9ZHbDF2H6eYE25ySPzg7t4G7eZQAoOio4WaJmEyuvnenojNaHm7BqC415IiKZSQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-06-02-57-GMT.mhtml

   Hash (SHA256)
   9685a667ff59a04f076c1774fa9f354c4910db55e893ebef2b609fe78d0200a4

   Signature (PKCS#1v1.5)
KJEpixO2WSqvadqAdhhc0BPLxy23iHte1lhwX7HrnzNw3hX3eVPJPQ5o/CrQV6/BLDQqeJFBVlUetUjYb04vaaKKRBgUcyw3RqelICdc6M0F41ab/KJLeVz6QNLznng6D8+QaT04a86scBlBffK1DW7smJp6/OiSqrr4S8EybscEXo2tvoHztd7qfRjxfGphaLAG2X8yz2kbZosXnpnNo3/
sew8RyQTlmoo3cgIWuldFLof8TBPCBK5LoMKH9cMJYYVl21/FpyQ7/zWKsbmaIMQhKvXDN1pMxoUamhZuqYWjuaCE2IlBycjVl6PEfdeHtlq5Fo1N0TXQJTOFJYl6Yw==
                                                                               Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 13 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Smiley Face Trucker Hat Women Snap Back Caps for Men Adjustable with Embroidery Sequins Smile Patch Mesh Baseball Cap at Amazon Men’s Clothing store

   URL
   https://www.amazon.com/Trucker-Adjustable-Embroidery-Sequins-Baseball/dp/B0BZQDYSSJ/ref=sr_1_3_sspa

   Collection Date
   Tue, 25 Apr 2023 09:25:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   L9DnGOI197DshBGyW3zfWw1Gve1cwng4jBxe2fkoXdiVw6cljPfzAS//T+aHllSS0Ou+hZwBliIvo3/pTOR8J7L7rNzWO4Vp+h5cRgt+yncECMU1tgVmnf8CU2Xv7AfqvGDheUWFVK10BGMEN1O9nVP7EszCuARe0hTe90R471M=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Trucker-Adjustable-Embroidery-Sequins-Baseball[fs]dp[fs]B0BZQDYSSJ[fs]ref=sr_1_3_sspa]]_Tue,-25-Apr-2023-09-25-28-GMT.pdf

   Hash (SHA256)
   27608c77ce1d5902eaba4813ce3771c3b2da34d1da3798fb6c7570ecf840ccf8

   Signature (PKCS#1v1.5)
N7A1yMMlwiL/ZEap8n+FKijAJBBz9CmYGrf031zE0MQAcO9QjZFdkttsPOnUOTptwUmr0GLK9H2w3yUCr1L9kuP3TU1uv9ufMiYSgRh5rrNr3QpP+lzpvqppX9R18IiAMD81NoYUBgILBjQbNWesF/JK42PdH79bkVasNdYcVr4=
                                                                                Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 14 of 38



                                                                                                                                                                                                            Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 14:49:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hDZrOL8tSGsrkB0GMppT2XkaWdT1T5Ln1/gYpbOSI9/RGcIXil2HCQ0f+BMlwAznHMVkscBLnOnMufGtq3Ft1/
   GJ7fsgkcLrDxTPHrQw1aPSkUyN1xceI/054FZ1729LUIRb3lYMzVfKfFWrNE7CPs32slEGmKzQUJLHrpEI3fogL5m1QJq4ZAyu6CJwoUJJKJ4vArYN3SdiAqNHQqY8SPiVVFde5CdxEHwT3WOy4oqW31xk8ERS+8wZX+2MObwoGrFkLtuO5BJo3/C8fPqH2tNWW3FcK49KthZJzB8dFKSM
   +eS2AAOSI6vn+Qdcq0p3BpdbEOBAvWRX6RdY5R+SEA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-14-49-17-GMT.mhtml

   Hash (SHA256)
   5d31f87af741ac83b0bf7dbc876a0ea0c5217a4777d639131e9dd76287bb794c

   Signature (PKCS#1v1.5)
EfeF+5Kai6C1Q9P8t6+xG+IjQ5cTx/QAMVP+I00fhXvMJWSPj/EMAHXa9nj6oJHwwtqlDvFfLqoMYcNIo9kJfE5606e880ocUgw0LfLCO8xOHHsQhgOXuRmR/DgSfxyD9LI4apVfLuytGWRrFU4vc5/N3WIZkm4bWUTHq9ARAZBwVlH3f4R9BHfBGH3VBhfXzVz/
fZ5A6S3QPBqkPYDXAZw3oFikbCly/8qWFGEWIf3B+8oGlhjgu9axNF1qBAltTSy88WU3WJpJHhuVv1xh8YTN3Fe28M2KRCjjOCahLfL9+VHbaJCgj5szj6+99eqV9rLe17WnueVmNxxhRR0s0A==
                                                                                Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 15 of 38



                                                                                                                                                                                                                         Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: 2Pcs Car Freshie Molds, Circle Mama Cheetah and Lightning Smiley Freshie Molds, Oven Safe Silicone Molds for Freshies, Car Freshies Supplies Molds for Baking Aroma Beads, Resin, DIY Gifts, Home Decor

   URL
   https://www.amazon.com/dp/B0BN5HDSNP

   Collection Date
   Thu, 11 May 2023 07:08:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mS9g/wYpEFpJiA5chptSOod433gM1yYHMcsG3123UkU9VJ+OumyG3qXZC14Ceibin7AHarWRHEs9kCsgufx8nQFxRy01h9g8twGDbyt+WXghA3lLUEI26vxwQ5yVxGVyFs+cuyhZxJPyAaYrdiVZKoedx0r6r
   +3KIW43U2pQXgc9uL8FxzbffC9mbemdclxjSFf38PS3t8ysbRcsTcgg5rRP3n7YmF2uvT29DRw58inVUfaPHf6ESpIj8aMX3i96/DHAFwdjDbV2SlqA0WWyCXE7xyy+FHrgFXNnlEtTAZ6059eL9iuu2PwRSgOnEgcJvPmF0BV9BbW/4xjuoczboQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BN5HDSNP]]_Thu,-11-May-2023-07-08-24-GMT.mhtml

   Hash (SHA256)
   666a150d559971be35b177df14adf92c0f409d112474e0d89238bceed83ad490

   Signature (PKCS#1v1.5)
Ifk1l05br/fBXUtRrsorBSyemck4GOncKxL/hebZZLtmsfO/BbJwPoCtUse7NlZ+Gp36fHfzafvDIV4/GJwFXhBpgB7EivU70bk1okr6PxVhl256vidcTpHO55tr68S2GJVaKnpKzSA41I4IdZ7m2yE1JttHYOd+f36FtHZo+9Hbb7dGFJKThMAjYzYe+Jr
+iM0vFDCQ1cO5LO1UWFx30xLd2BPUAbeKp023U4uNJGDKGngxacIJ1cIOxq6AOlX8uQTM2ZhJ9q1TcuJy4M7VXv2S1QRmZdcCc/0T9eKAfa1OpkeGoHMRBSy6NBxv40qWsGTeoDisoSd0CFnSCBkXng==
                                                                                 Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 16 of 38



                                                                                                                                                                                                              Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 12 May 2023 04:47:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gOWdjHP9Ff6tvcaT2Gu1W1VTMSOhOto3wybn7t2KyBFM4s8FLhJ8yIprnMY6rYs2f6+zEqdN6VHQ9zviONRxWPJdRtmGcDq04kzFSmlAyEcNOuPeC7rErhJjRE4QLWs8AHSUAKVc/5D993znusYzfdnXtC6m5qhv8z/TNT17el8UuV8sEkhTvCuVcw
   +SfZ5BcTR7dBU11St7Lc8QkP45ABwpqP9tARTGP+sEeX22b0v5WLuxe1O1bKYDKWlpxe8+tFVSHEhHkf33f4tgH8Ppl+5/R2iawAALR/wvDziVwjywGvEkzKUgxKdfxcUmt+Tr6lQDn5Q9LAVW//9i3VXBrA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-12-May-2023-04-47-11-GMT.mhtml

   Hash (SHA256)
   dd75a1a0a1754010558db4ef61033448be22a0bc2153618df886fe255ca4504e

   Signature (PKCS#1v1.5)
GzCxdEuFNruL5qNXNCOuzT2dVPrByt4Q3bTuqgkcqbrkSXDok8ZUJojfoSnTbyH2QmufU+WsxB5GfIQ1UviVMOD86bTsV4AHHIL5xa7C5AoI06UZrlQGqXCa4+5MkDY/w9rrA2a/M1YZ9bUVhBlLVkns7Ic8OIb2rPexVosZIKLgUJf8gCmOZe7jDL6Ti8hOKS/WckgdiAoy2hSJ
+fqKo4JBOW4HBvM1tOb8yaIswB/6LDurF8jpQiGldd0XSoyj5SAvWNMipkGbfERAeh9UMVN/ZV5Z6FT3fAkKVCk1FUbrZx5qu20QRa6VCzhpXSoG87F76iabyLxN/AFpoXrb2A==
                                                                               Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 17 of 38



                                                                                                                                                                                                                   Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Enhudam Smiley Face Makeup Bag Aesthetic Cosmetic Bag, Large Capacity Corduroy Makeup Bags for Purse, Travel Toiletry Bag Accessories Organizer Bags for Women, Washable : Beauty & Personal Care

   URL
   https://www.amazon.com/Enhudam-Aesthetic-Cosmetic-Accessories-Organizer/dp/B0BW82Z8DQ/ref=sr_1_127

   Collection Date
   Thu, 20 Apr 2023 11:39:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   eX/ICscvAXR5pvZkEtaR3xSs1+2x0blBazd9rrf1kYqrJ9bSSB3mcNSp26pplNF2hjM/NpWT6w0XJD+Iv3lfMaNK5NYkKwHTskcwWjb3+GFD9ltk735Eny6swjM5ZfcnzhkvEwjo8zb5IfSUX1tTitTmrKtZdbGYb7hnolK8OEM=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Enhudam-Aesthetic-Cosmetic-Accessories-Organizer[fs]dp[fs]B0BW82Z8DQ[fs]ref=sr_1_127]]_Thu,-20-Apr-2023-11-39-09-GMT.pdf

   Hash (SHA256)
   9546a50c8cdba8aa0dcab6768cb67e3d75542d47645055fdee88c6583d56334d

   Signature (PKCS#1v1.5)
YjoGjyaq3nBbaBOQq4JhXottbvhAKtlMr8DK/2oEpdAx0QMU2BdZApnwl1ZPjCXB5vkbI9224tjmkEi6ljgDVkpZnpuUbrdE+4K//8BXT1FkMgWkf0O1ubhWpsVoCS1YLmAsiexPfwjvGDFRwLtYiT6kQl6qeRIQCxH/AfLp/C0=
                                                                                 Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 18 of 38



                                                                                                                                                                                                           Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 23:15:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.96.16

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   aE7dKWQT9m7qJPmMeRIshE1vcOgDeKA5Pw1vWuIwSf5QwsCAV61/H9UBag/zUHDb2lpoXEqZafwIJNLr2qo+Eo1PDoOtDnlG2Tnq1fW5VPqCR6eyo3aJftc0v6AAuxdwZ9JjzBUVkhhw1KwSY9AcUny8Le1ZbE1I460LxCyt8/
   r2idsc4gVAaKFvSsdqu7eLv3yWzL0yAjkjEfBFkBZxoHKsrSZ9fJC/WkmS7le38ik4ldHuX3jwcuJzhv+IMj/hA8ImZb5oQu+lBfUpYQKh7C1EM4VVBglbZ++Nan28J26UQWvBxZxu0MHoiZg/xNvGN/iRBV4H7ZPrOk42yohO4w==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-23-15-31-GMT.mhtml

   Hash (SHA256)
   af7f1c8826256647bca9af17fabebd2cecdd7b9e962e9fa555b2da34beb2a2ea

   Signature (PKCS#1v1.5)
YPbtGmlKA+znGwhTd5gYIii0DXBXPWUoglyk2ZwrDs1L7QLowQbdQ1U6iyXSSQEXtcmT5FL8Pq0dnVxTQXjux3DG1J8oT3eSvyOWEM6K7bJ0Spc3RmQIWX6ALVgFi6QX7cystYaBUeXGqtcnJkWENCqHZ/fMLPTo1Kn+1pYPN5gRWqYy2kXacOuLivyJW6GlY0w/wmHu5lCnOXBx02/
xIwcAKT4A2+8sHgC4XtIlKladaC7QvnjPXaOl19yNfoBFGRg0Hh5miLjrYD8nIae/w6bNr8JXNs1xtEJQRLh4tryqXjbeX5yH3goTD4XwPWQn+4MzYjwb1KJn/x97EjrvCQ==
                                                                               Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 19 of 38



                                                                                                                                                                                                                                              Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: YINSMALLQI 10Pcs Colorful Smiley Face Bead Bracelets Rings Set,Cute Rainbow Colorful Handmade Stackable Stretch Elastic Boho Beach Summer Braided String Bracelets Rings Jewelry for Women Girls : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/YINSMALLQI-Colorful-Face-Bead-Bracelets-Stackable/dp/B0BX9MTKKM/ref=sr_1_308_sspa

   Collection Date
   Thu, 20 Apr 2023 05:55:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MJ1Lf8vIoOI/jBTrtH8rPE12p4S2QBUeX7KN2W3UBXjquPdeiqkqDWMmXkqGxaBNJDfS7X+CvaLo5Hr5+OJ5VLQUw+j/lBslDCZr6IdBCfK7OASQNpdtjhL1Eu2F7QAae+G5ZPQOFnJ7KZpHedfIPZoV35fh+RwE0wSuTZipR3E=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]YINSMALLQI-Colorful-Face-Bead-Bracelets-Stackable[fs]dp[fs]B0BX9MTKKM[fs]ref=sr_1_308_sspa]]_Thu,-20-Apr-2023-05-55-59-GMT.pdf

   Hash (SHA256)
   88d4e6cb113dc0d8f6d8aea8770f19c15490be1464fa01db6c73066149436cd1

   Signature (PKCS#1v1.5)
JxtPE2ol7YvAFBVycQvc7vQt5okUSJiZI5CV0Sdqyqg93QePW/3C1BiUPGrEOE48x0JZxeB2LYvdx0DPQHqTafDPHM2k5rn9bmM02tIoT7EXEHmnt3NXpHSrBT8XL3SAZ94JFFKJSszNMNoddRP60aqaPhq4gsalqfYtEkwr2FU=
                                                                                Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 20 of 38



                                                                                                                                                                                      Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 05:15:23 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   cLAZjYUML1WEKNI+Gl5r9J6gnkAptHTMHN+1zGEuYEoIpIvVIUL21HUXKBCro916C9D+usGm5D+9jXqnScEjEX17cazFNGEafV
   +dBHxTCgGCsC7QceMmlL5Dj7XgfUY22P2aD3BjUF25IoA04+4CYEqASn8LGqHuyRRizjcf9fH4gZ84Jk7MDlHs9aIhyks6FMnMNAsbK5GfH8YCU89b91ZWa4EgSohQD0/Op
   +TT9KJ6FK45UX77k3GgDfKXeyOLhXWBgTneV1dnIzEiGyFIVl5A0plENFhdy2ITiUZuM0bvEs1F1mTvz9iX5zXEfQeS4wanPx7tkQfRMDzIrZEj0g==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-05-15-23-GMT.mhtml

   Hash (SHA256)
   29cd9a503088a7043c7f7b7c705823fb041f046c96ea861dc0dc0be0b836232f

   Signature (PKCS#1v1.5)
Taqpx1ZnkFaFnWxDmiS/5wXhaP0KjugrXOIfhxH5FSeGZ8rDbGk6qnaUIzk4VY2q63b8aGLnSuVd8ZCJ+gDyHeHUp0rEeUWx+7INc6KDR7O3C2x4GHl1m15E+aSjrDjEruIlbAhdUAIU9/J2aN9G++reVNNi0koXFuol7qwL087Dhm2BMm/
ZhWMUtd0gYk6RIVPa4w4LqtI1r0OIKG93h9cVyQpXu5FADxbcc7t7qX4WTtQoKe29JMkvQeoZFUKGTbjdxTp2rC2KS4/+/Iq5r7PO19K97hmwTxTb8Y6GGG77/r7oXTC6QsULTNG4btuvYBeOSBQzp8ej2ggpsxyGdA==
                                                                               Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 21 of 38



                                                                                                                                                                                                Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Q&D&S Funny Doodle Necklace for Women Smiley Middle Finger Necklace for Men Personalized Matchstick Finger Pendant Gift for Teen Cool Handmade Silver Jewelry (Silver+Silver) | Amazon.com

   URL
   https://www.amazon.com/Necklace-Personalized-Matchstick-Pendant-Handmade/dp/B0BDQVPXFS/ref=sr_1_295

   Collection Date
   Thu, 20 Apr 2023 05:55:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Uh72R1zLypULZu+QUvOD6EJVOAswiP8LXVSJdPOZUw9BW9BcgcAqeTg5dbG20fkOXdWw0SI9UIi3eE/fp5LQmU9+ZqNWeJQqTfd3I1GC73B84tYkioMrEHY5+Dtp0KMO0xKInmebYk1FG4T26QvtNSbaCEuMmK1dVQfOb7bSd6I=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Necklace-Personalized-Matchstick-Pendant-Handmade[fs]dp[fs]B0BDQVPXFS[fs]ref=sr_1_295]]_Thu,-20-Apr-2023-05-55-11-GMT.pdf

   Hash (SHA256)
   e10966a09b630d1bf6e017b77f6def49ad8541d1cb10ca2a7932e2aa4a333bff

   Signature (PKCS#1v1.5)
Z9EhtydHTbOzcivhMvDxf3JIYRXF7KZ1LCB0hgmfw8bST/iihDUZF1Q6ePi9coCMk8FKDGtT1L9T5OeQK/TAbJ0TUjSsz7IC6ZFiewmig+X4kIRLBeE6tWeeIwUEheTEYYuuLujqwoYg34pLssn4RUY7dpyblJQwgvXrCksuM7Q=
                                                                                Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 22 of 38



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 04:08:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fngwflMMY+gzc70ZDV/TniJClvTwaB0VhD8ophyM0u1XUKGzslUAiEHZAbCJY2/JJsmqThFjheQasiWsL6TbYvmJly6rqbr6lna2/1TQxjT804uepQtV2OKSb93A2Kw5TXvKL/Hgu1MpY6SYeUXNyke7u5Dery3qn59Z+GIM1U9BEwd4F3vWTEcuVpECD7J+xuej1PoBYvpl2inyhFp/
   Fj80kXUSfIeBl53hBHadgC+kNr0VdtJLVUldwQbd571DGFF5R6KUL1SaMLMfIdgVyB/rHxAZGXtjEcIwS9OchZOAQwbmyFXlwuqmxzFu+zBautN28vaKgoI2znJu3Kzmqw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-04-08-06-GMT.mhtml

   Hash (SHA256)
   05f37c93f0546389d9f1f9ffe8db4a87bca94dc16ae8ef32dcf76ba8053e3edd

   Signature (PKCS#1v1.5)
UfQNLJjhf/1yvXW/sJUbD8H4rPVhJDBCetXH+jjz43lZZOr/zLh1IyX5A8GmAbDAPFbwHfLWic2rMqR8iQNyC56QgzZotD4p5Ch0XegGiVgxeksg8AhRU+OM4YBKtFGpQzdTta1Z/
XyXPq1WhDPKLOmQlnmceSGnHa5EVWq9AcLLjE651tKodBmrwpFGRSFov9CdO3pcx3J6RpN8x1NQtcf8LEHcySBSxpEXzqIOlhHxpX6r1ixeAjTQC/ydus5GltEYFRoJmc0Ayp+4rRFD0uPqmOdG3OC1oJvyhAMHlWEWnJVzE+E8gyOiwHnDaSzcY+SsSaGl/g7ebWRmjK9w9w==
                                                                               Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 23 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: NEZAM Ultra-Thin Smiley iPhone case for iPhone 14 Pro Max case (Green) : Cell Phones & Accessories

   URL
   https://www.amazon.com/NEZAM-Ultra-Thin-Smiley-iPhone-Green/dp/B0BDS8NRFG/ref=sr_1_133

   Collection Date
   Mon, 24 Apr 2023 11:10:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gByCvQtbT/YVjwgxNbqYgh8H0NrXVtuXhcBabuOQN8ffleL+yE66+TiJnB2dwZQdLEKYDORetTLn4ZLxaudQtdSP2JP+Al0RITGEf5QDh0QhX8Xo50Q4DJLxVQqpf3dqAw2Xvid8YNRDQgI0jFOdQx2i3sWQcDcwVivcQolIcXY=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]NEZAM-Ultra-Thin-Smiley-iPhone-Green[fs]dp[fs]B0BDS8NRFG[fs]ref=sr_1_133]]_Mon,-24-Apr-2023-11-10-05-GMT.pdf

   Hash (SHA256)
   e78d285986b5e239bd9091811b1c5f885690495a0200e561beb7f503aab91e38

   Signature (PKCS#1v1.5)
RacOrmCsRB44zkd5BgKUdNXEH5JFPzNqqF/9iXXyxz79t+Gj71ZNg4sgpsjqi2Xc+BrmdR/pKin9lh2cRvTtmsqqQz5ZFlTYuSzVyJgwiC68eoIFhywtsmq/iGNi6OViCKEtLUY1HdL1wnuzbvMCJFa2B2QFHZ53I7mZUe/IbDo=
                                                                                Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 24 of 38



                                                                                                                                                                                                           Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 15:27:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JfZEHARUDTBfAOQMAOqXobHF5/GT0hWdyhw6pL63FCfP3ZpUBUc7Os4OBisc3g7OZcv85KM7CBBVmeXgESr/HTThtweV9ui/Tm2sZUVgcK/Xqqa4FnTM1JPT8hpkdhjyUpSVVjXNaWZngd/
   mmHopcehU3w7zjRaIdFIyRAegnYbcjcwMl0j6OkoGa4zv1ofz847xqc8WzNoHSruf98KTrMkZxdvtZkVZTM7yBed+8G7NPzAzhLM4gykkbyhsdiTMeyunH+SgEYnBVQv1thCLilMR254ooNOn5SUWt51ySmjD08cSUDsnLaAHOnlYNIpCLISbs3fvtVSOyMNHvRGfbw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-15-27-29-GMT.mhtml

   Hash (SHA256)
   cf11e4dea599ce9ab1eef257f2a1931e3e229c2f0096fe98e2e847801811096d

   Signature (PKCS#1v1.5)
QTR+Aj4WjRc1Wy1wv8Qz5042yA5KR8SmgpZgOqikdEuS7S1UOEsYHlKOSQ1d35TCULjfQ4tHLw+ZybZnj3My2UMnPJ6fL66hiFLSetvwmdkViTFRjzkVa8nVF0aw8AqlsdvWH4dWSp4R9Zb6b1N2aU0WwTH/xWEb/3eYW5JVQKCDWuiyyjsCa1BkGjw/dabyrc8ACiiTNDlc1AqX811sLUX4bBcxUa/
U2OPxB909dEWFAOC9YrOhQTh0vIo/HEiZ0HbiSxiAYzMCM26vPH70RW43mipyhAseExxSe0AKO+lsHyYlKoUhjZua1WxupnmcvkUkGgAjvaps5geJdqL7ug==
                                                                              Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 25 of 38



                                                                                                                                                                                                                   Investigator Name: RemoteUser2




                                                                            Evidence Collection Report
   Page Title
   Amazon.com | JAMANDUO Women's Men's Happy Smiley Face Cowboy Hat Slippers Cute Retro Smiley Face Slippers Plush Comfortable Soft Memory Foam House Shoes | Shoes

   URL
   https://www.amazon.com/dp/B0C3MSPB5H

   Collection Date
   Fri, 12 May 2023 13:19:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Z5pvyAUnuImBRncMcklUGUwt1CSUx9RImgGngCTpdQfPJiqAzkIgN8CEAch/Ci01aenYkbQr6ZqTj8T0MilCIOhD78bsKZoC06nfk2TTtmgVs0sGwCF0V348r3c5NV/
   rC5jUeEQdfn5XsuXzUIxvqE6T0S1lflZ0eBVpXABfENyDVIz1fM0gm23+Y7JBGjeAfgtq7OZkdtePWQCaQerlft3nY5zLo3qJkP6TwTuDiUwSJwlwfSvNgvEajSvxWsVSbpa5wx+3UwSDpFydK6XTfZS9NKhaGQqD/4e3+TSM77TthsrRztKpXv2V96s//1kDQKvUjV9EiycNJ1PmmrP/Og==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0C3MSPB5H]]_Fri,-12-May-2023-13-19-34-GMT.mhtml

   Hash (SHA256)
   8c7675b9c4fac98e3f27a77ec3c5030e6c4d443ab6a436eda65abe7b33c97ea5

   Signature (PKCS#1v1.5)
Kx42b7uzEXx/T9C6ioLzPKi/Xd/aQyj9Q0cubwXmkhmrtAhT04GP8nBRdtBh2ziXOnq4pt6NRGKh69MluwdFrqb6wCDjwjxoeIZYUV/7cNIR8N58Afla5jmLtPTPL79znulsdc7YAlxSAxZWpA/7CElr4f0NadA6o30Ts5ky2wB76de4vOzDaBB/No15710ulVAHuowdJiAt+lzI44Ji/
kqXqVtJ7uzdS6SYPU3mKlqArjxjFW6OCj+HbMonDXiiPBw6k61LR6K2PtPcgXulXt3KPw/LDJRbYR5dpZuWWTYMUGYdemRv6ErORvSbNU5gbGaBe4Gphh/xF0N2O2sMnQ==
                                                                                 Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 26 of 38



                                                                                                                                                                                                               Investigator Name: RemoteUser2




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 12 May 2023 13:24:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lNYGJnwU64UJ63GhjQH8K2hoLydli6ckJ/HZVjMkMMlYkUzb4ucBsPbSUIf3SLbUWixeVrbugZQBZ31ZM1VkqcBIrv+oUIjB6DQF83C0akXqXcSAUPyKoU3MkJ0Cj+dN8vc2uI93QRXXirVxgkPtWrDt3VQnVA8pedxAiLhHTmqfBZ7I0j5Ee8fjLD1vEc7KQMZjgzAk/
   T3TUARVAf2BufbPls1jpt9HrM0RrgSoE+Hbsk2nIubtfu8I05qusdejsQfVOw67j63Y5oUzlXFy2gJGA1/Gyz0tYm5ojbqH5sVp6n+40RvNEVrhnPw4XNbp9eT7FSL+e3RlqCgOMRMu1Q==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-12-May-2023-13-24-31-GMT.mhtml

   Hash (SHA256)
   646031f7dc7b241ded6885d6af43b1fda33d0dde26c86609103b7cbb3e950faa

   Signature (PKCS#1v1.5)
sRnhqnF0sUOoRsioGe1sA4VePsl2O8VnHKoVIGLqnO2RaQhwJbda+GEHSqgfgLvLt9A69fSDcOG2pmmF1H5iqXoUivQdbtDQN8aa90INkdB5OZ2JPJqFGooaPPckc+8ueUPmW2HirM/
VVfSIv5TLIK52vvAZ5qLiNSmJqnD7MK55cPBVEpQFHc8xB4Jf7TVdK91Z4VkcwVYrTPLPEcfaZ00KDokKduhgCcE1dmuNzBOTnjIIy+rzZVoOA4EgITBqPK7T1LmAaV/VktBGVmnvWuwj09SDzgWU1U2q0JB+8zqFmECqEZLC521ZDw2jJcAvTwW+SM2Jie/+JlSxfkYd5w==
                                                                                 Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 27 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: 480 Pcs 14 Colors Acrylic Smiley Face Beads for Jewelry Bracelet Earring Necklace Craft Mobile Phone Pendant Making Kit (Multicolor)

   URL
   https://www.amazon.com/Acrylic-Jewelry-Bracelet-Necklace-Multicolor/dp/B09G6G33KQ/ref=sr_1_16

   Collection Date
   Wed, 19 Apr 2023 07:32:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KXulFzwWcgKUZm1A+XtX7XiGRlpChwYULpIDXSJ0mCYYQ8ZFersdgqWxPfBJih5lNa+nLEtwXAZ0Pew6AEwnQcmtDc6NC+6u/JExpJETVDJXyuY0lET6WRIsaQmFHS+YLshbDHun47juiAv19ybBwL/zLQfxhIFAOdUxz/gvoO8=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Acrylic-Jewelry-Bracelet-Necklace-Multicolor[fs]dp[fs]B09G6G33KQ[fs]ref=sr_1_16]]_Wed,-19-Apr-2023-07-32-09-GMT.pdf

   Hash (SHA256)
   517b45e7005f490fcd7b0b0928c2552bd7a263eb09643ab7a2b76af6de03c6b5

   Signature (PKCS#1v1.5)
ct6NzbAh4vijA5zvh/KHFgrsnswLyAUZ3NXTlcGJpC/GnvnJKUfAb5B8pCzMSXFVPdL+Xe4Vka7cRs0afgcDEVo8EfwSFcK8eJE+cKjSJuetzCJuYzWh91c8A4b0We2xc5O/s0UKj+mQdlbKwkvqu++ZVs2dojjRuyeWF/Y3rXA=
                                                                                 Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 28 of 38



                                                                                                                                                                                                                  Investigator Name: Sian Kelly




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 05 May 2023 07:53:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   K+4EcCZ4q2/b7DBhIgRSu90+2EmctlUsQMd+J8+uo/cyBfu7w7qtpp7ps34SiUtKIhrNlqkePjZmD/7W0VmCtUY/xofdJd9ITvLA5wPq/ye5PExsrkamlcvxJQiQ4xQIHFtf5M2tVyZpyzBmgVo9c1FUVYeWoru+9170W3jFvl3Q7uMYaDF9d/Xa4408rhhJobNAEsSuTBRY4gS
   +kc2pjQlpm8uHhpC389a/V1VYGaUHEhstWPX1DZQxnHHUaS5ncvH3i/R2yYQvFM5O57dwxv7v1ND6jmZOSQsBXtmhy/my2UPHrn9qryi6Cvs7kqD50WV4jPC+xD4yQp98gn4dZg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-05-May-2023-07-53-52-GMT.mhtml

   Hash (SHA256)
   1fe6803a9a8abe893e4e1abab23276aabcf7ba9189cefab6e21110390bb236cf

   Signature (PKCS#1v1.5)
DFGTlm6TEuhUXAEZzr7ec1tYh4Q5xc7a30d3NWc+HYgjW4NI93i0lhK7Y5nrtWYxzypPwwqXf+j9bS0Vu33uHthEh4dZKOzJ4nOpbWfjdzgVzrXxbZ58hTDw0mwiy8AQkvVSwuE7WT6ACn3jErjZ8GV3fsWPbNIy57UaTaBT5TRpxewTuEOXeio/EmbDSenZbfethUkwc38gDEs
+Jz422Y9pQ7CiA6VLuNNjkEiXm/a4eHh6avXvrUT7MesdCEx8J++YKQoKBcdEZusUUNfuZ8sEWdoyGVmlSTSEOlokEqCiy7o/iKypkseL4PxhAhvbeEbusVKsmw5ubQCeSGvN+w==
                                                                               Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 29 of 38



                                                                                                                                                                                                 Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Pearl Choker Necklace Cute Flower Pearl Necklace Love Fruit Animal Dessert Hademade Y2K Necklace Preppy Jewelry for Teen Girls Women (F): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Smiley-Necklace-Dessert-Hademade-Jewelry/dp/B097C5VSYN/ref=sr_1_48

   Collection Date
   Wed, 19 Apr 2023 11:44:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ALjRPDfHGab93m3UDNoBvBMbxSG+e/TCpxOKP5MASqCuc6JAGUrdsDz/F3+yQz6ComhLeJqgqh+Us2g6d5nKft9OLSbf5iqwcv6KbjXHhT2cbcLE9GXDaFKpihC6U3xQR4jj4U2f2vHcOjTaloKPdIuz4blH72o72OQcEtXOMCM=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Necklace-Dessert-Hademade-Jewelry[fs]dp[fs]B097C5VSYN[fs]ref=sr_1_48]]_Wed,-19-Apr-2023-11-44-34-GMT.pdf

   Hash (SHA256)
   3beb76a72b2560e9f4cad78f28586c81fa1873ecf121da6eca38390f50f17a9f

   Signature (PKCS#1v1.5)
rSPRSWQaw84N1prusga41znE8vymCPr0MLuFRpnzBO124Qq3htO3OdJXZOo/jWb6U29NNuX2+mYVvEXPtHgdvtz53DKhICeP3zQAFx1MHwQQTYW7IAmwD0EpdHwZsjUTWdJm7TOzNJd1/7IR2J812suYw33PZoPm2ebxWePIii4=
                                                                                Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 30 of 38



                                                                                                                                                                                                               Investigator Name: Abu Bakr




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 16 May 2023 12:07:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Abu Bakr

   IP Address
   27.147.190.160

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TTxQkd/y1ObhsTUggPah8lO28f8xGqNRna9ZOpYa6OJZWwOL23NbA8yoIcqAG9I00pB1zEpgXcANxLpVtxyPhCB5BvGBH7H1lVTuQ0AS0VdgyfIQO0KHv4tz
   +EO0X4Dgxur7FvoqqJpCe62nBQtzY2Nha2hshrdMwIuGF6RkXNw9qDAHqHR2NNp7LnlUM9qbXWhCTpgSECT5OjCwF6Kdwwx9w4Avc0z1k6iLXic0COE0+s6uqgL2QcOeECI2pNmrWgbMQoDpaiOjKdH8OrMZP/
   yY0AfwRCdBPUg2KXdLkgZqhZJ6vUVoPeIpvVt42udxdwnBGk4PWIE5xvwDA6k4xQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-16-May-2023-12-07-57-GMT.mhtml

   Hash (SHA256)
   9b27b0a2235808c6ae927c5e9bd5b282610b738ef57e394d5ed9c30c34d48f7e

   Signature (PKCS#1v1.5)
nMiud5Snkb8NxTUl/+bTYuxrYTznRa4lKfOUNqb74y+IL6w2fbRQOkAjakLKjkJfZg64uE6div9SwoVEJHMnEItpPaBhT1Opwwr8LGtPSeXc+aUtSfOBDdh0sbuzEWoMcEclNXwSrppnxh9uIMmo37jZCWx78sP81tBFRAHWSjCFHXBQw9uiKBo2yeNyqyf5f4jCg7RNwVM/
uIwfy1IFFLpB7CA1FdesPHLx3FS8HCQ42GAJEqrkegpBfOIJagondo2KoiT2atNcuw1+s4SLTtrWtpetGLI3okMxnO4u347kxYH/TLBBmVGMBf2Bbv6w7uGbFInc8f9gx/Q563ivMw==
                                                                               Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 31 of 38



                                                                                                                                                                                    Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Smile Face Case Compatible with iPhone Xs Max, Trippy Shiny Colorful Smiley FaceCase for Girl Women, Unique Soft TPU Bumper Cover Case : Cell Phones & Accessories

   URL
   https://www.amazon.com/Compatible-iPhone-Trippy-Colorful-FaceCase/dp/B09Q86T12C/ref=sr_1_219

   Collection Date
   Mon, 24 Apr 2023 11:48:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   dRmv80mBeViVX2D4EMhKPMO3gJjDmRD2FSlGvKkF7xeaWGNAjO7iBphX21GbAVLQZUnpDCfSJqPD4t7yBFUYxiAL5WWoMDoMrcHKEkLxo8/eySuuvLWoTy6ii6Fq21l+DAjdHkXFcfcIIMgDleb/KT1gCsOPBCiiuHolZl5lGRE=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Compatible-iPhone-Trippy-Colorful-FaceCase[fs]dp[fs]B09Q86T12C[fs]ref=sr_1_219]]_Mon,-24-Apr-2023-11-48-47-GMT.pdf

   Hash (SHA256)
   7112128fcd6c6316812ccd77b9844b4e322ff337fbaf9972552e7ddaae17ff8b

   Signature (PKCS#1v1.5)
oGifZSkL+9cgS4i/aN47mZSivVLYEsevRnbFZYFuw0ZXnOj/y0QFGrDjT0qUGklJ9ZGcTW6fQnGxFuva8xWCmJkiMI93SOwlUOo/hmrVBbrncf7V5SD9ECpCts8iJGDRTY42rXzz4GdREX2SuQQs4Cthaq35fAfZcVUneXxrf2s=
                                                                                Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 32 of 38



                                                                                                                                                                                                               Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 16 May 2023 04:13:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   aXCRs7ht5u+aSzQluPAeoSRNkzve1m5FjwtfkxB0rSZ1ZZqgxzgxRlOY+FvOZ4eXYYlxlvR5cKduHjZziKw6iXTLNB1Z+9gUdyuioZCrhAYbM9WOKZ+j1ROEQkObHIJA0EaGiD9LeiQCSfXKqGCaXKdN2wKEIq7S3hlVQFVl7xIjPdwLQNvkHaNBF+0FlADcQ8PcI+fsLQugtLHlne8TYW5/
   FWR4BcWzYUcDKNNwJ9CvnmzR0ssM2ceOS836NBHUz8/dYm4iKVIq9nr/vWKsDwbZaFDExHmEffQl0fBzZXbVS3p0COwm+qykccKpQ++j7spNMCadQkbCmxcVxkCN5Q==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-16-May-2023-04-13-34-GMT.mhtml

   Hash (SHA256)
   78c130cca56249f76e3781f85e7094b349486e8d8de54435ff79f35ca998be69

   Signature (PKCS#1v1.5)
b2W+4hQy3WmGMkTo6bjefgDkGTLZF1IyEyA3Xld0FmVaxDbtGWwauWsCwYMsNXUxIaIQyhYOroBE817VixD8Ig8PnpNmC1cSFymQ9m4Hjgb5Xt8gPjinTdCt8j1CYodHzBBqVKpXyh4le13dpM9IzVwH5auUeUJ9Zh8nP8uhMLOunIm4sdg4FZA+MUyrdq30gm
+2AjD2AZR4Ue8Vn2Hj0UthcC8KJOxoz4fMUbotEkvZRhgGUxzLMrt0eS1g7xIE3v0nT2KAwgqYiTHgRUNvqShPzz1h+wgptV4aSK9HryEGNGkbegXdeFqAOcRXj4h8H9NTUV9PhLLGIIlz1F36mg==
                                                                               Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 33 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: XSILA 14K Gold Smiley Face Necklaces Enamel Happy Face Necklace Pink Necklace Preppy Necklace for Women Girls : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Smiley-Necklaces-Enamel-Necklace-Preppy/dp/B09DXXLD7W/ref=sr_1_1_sspa

   Collection Date
   Wed, 19 Apr 2023 11:35:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   cpzLoXXA7MQ2Ff6ZMbwSDiHutJR7ydhaXJvf0AV9HeGZIlCuS/fY2Af1SB/DceKFZ/xGSKhAwcYkpzZDFxioMrd/hKChm2pxHp9h8JzvIhEnRB57QB3ImDckQzcxu+z8b3WPXEuDlsGVALGzuXqdfNSwGn3vPaljF9KMZqrwIR8=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Necklaces-Enamel-Necklace-Preppy[fs]dp[fs]B09DXXLD7W[fs]ref=sr_1_1_sspa]]_Wed,-19-Apr-2023-11-35-06-GMT.pdf

   Hash (SHA256)
   bf210abf279278e823429674df0dcf25edb18a0f8cb94299a29b2d02a6047d60

   Signature (PKCS#1v1.5)
dwZ86qaqN0jpluLNfxDinQ7egKaqmiw4AzyIPJ35iDGeh60/lh+tHH95wj3f8OxYugH5QbZ2x8ka7iZbQTkqVUU30cP2dtdUKlIW4yY4ZCVKBbLlRpGRMGle3qzENpt5BkugwAgXNIaRku47TkVdkY2ZUNQlwhxDhzXHastKT5Y=
                                                                                Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 34 of 38



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                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 11 May 2023 09:50:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.40.99

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZcGKzhs9j0iRycYcCZcR57PkHnC5vIwK1SJ1tggva6tkfxj2r1z5pJdUD592wXOJ511cc1AEjQHmx2P66tQ60AKaW/JQsWlg0UCIXokQoew00QPWT5zur65gauBZU4vP99Io6n+K080py0qhQtzaRKmv55H+
   +OcqR4atnGeGWEd7SFJhrdam/0vMmkUvW7Pwg6VpgGVYYiCpSD4wnvayEBjobGDjv0ny2OrSo/vvM3VaWUoBZmSLUYYlmOKcIq93di6nEKjYG0YOUQVof14n4FggRRLVAc6sKpdk8LJB4jRfc4zZ69geXtuYZU7eYYycFlmDGA+Pi0yt0EWk0I0Q1w==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-11-May-2023-09-50-09-GMT.mhtml

   Hash (SHA256)
   ffb6a48d98b376e260e04ebff941714924616f625e8e9356353f366acb190650

   Signature (PKCS#1v1.5)
Co0/JgHuxZHhXXeluFBq4Kx6e4Jmuhk4rMVS3Xu1gskIldQb/1MJC78pfT9lVIrHexOCM2HWr4IIxNZcmHlj/rj/l2vC+Vd2L2glQMXMJEd3C9wCBQn6cNkDaD0/C4NS+fIWe5aUiDHXRo9U11JYOJmDOcw38d/eQdYhwSilX3ubkecyZ7S7OBcZrnkytRlD5BnRAbm74wngqtff
+cZFsSznbqy1NOF8sXx2tge/YpeC15BFs+sOQxyjv0Gx3lJYKnMij1I4lnrM3TFRoeKAInlml+BjVkB9/F88txAXgP2JieAtnZYkWQXpNt2y7zAnNCl68UyojoNHxG+aJvvI0Q==
                                                                                  Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 35 of 38



                                                                                                                                                                                                                                    Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com : 2pc Glitter Jelly Smiley Face & Donut Cute Badge Reels | Acrylic Shaker Happy Smile Face Badge id Retractable Reel Clips for Nurse Healthcare Medical Assistant CNA Pediatric Gifts Accessories : Office Products

   URL
   https://www.amazon.com/Retractable-Healthcare-Assistant-Pediatric-Accessories/dp/B0BRB1YCVG/ref=sr_1_18_sspa

   Collection Date
   Wed, 26 Apr 2023 08:12:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QW7g97LOrDbAkVZ4JaY7EVMrWMP6h5CZO2KFow0yEzSg9eWRSqdFJdV7iB8xDYyMvqxU0eO4NACacK8u+6zxI5IHIGfpY4qebTS4aEqkPG9otm6RWhWPtY8lZo6HBFkVZYkSJaM9qYk50g4zz12dKA9Xj2rDAhdDIO19wlW7JU0=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Retractable-Healthcare-Assistant-Pediatric-Accessories[fs]dp[fs]B0BRB1YCVG[fs]ref=sr_1_18_sspa]]_Wed,-26-Apr-2023-08-12-55-GMT.pdf

   Hash (SHA256)
   90cb8df332133337f0785524999e67fc3a01c0017fa6fbb9b906dafcbb2e6ac9

   Signature (PKCS#1v1.5)
S1zYnNuxd42OvAxZT8OfJarpszjBFejfLWmtT75pXugGGig/nEFpB9aZgoubbnWZc/2Vt6wh2VC6/r7rR6GNvgaN4DePcJAMGNlJbrcjUcNJqQpL4jk87gNmwadLcL+0L3xKSWFVdsorGyViQooLBinv2aM2B3p6LvHsx2JhYDg=
                                                                                 Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 36 of 38



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
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   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 02 Jun 2023 08:29:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   iloyB6VhvDBFji95hIv93lurKkq3PmrsjbODAGmlrHUt6dEvN9/7HYrSW0lRZa5ed58AMy3GMMenfMdndcK1CMCG0/uPtdkbT1S0VwNoSjOZOUCADggbZjxx3tFN1qsPS4REBmDJAHa4HezqcGmN3aFS3smx90cS4KjmwbduQiaqaT/jNPyNRRi4xZF7kJjZIettF4RzIrNPwSIgyYI3sHW/
   yNeU74UDxiMphmTJmTcZ8u0wFcojs5EoJnSryHH30JbHjRh8/nYs39aX36YhO3QYtnY5YVHxZ7BimDLPidCikgtvWHw6eX797E11SjnoqkASY0l1m/Pe30vy4wBAqA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-02-Jun-2023-08-29-18-GMT.mhtml

   Hash (SHA256)
   6c236b5278c307a9e7312447f1119295a063d800b8a54e2140297b20d5460ae5

   Signature (PKCS#1v1.5)
UPmxZyOGhWqECG2uOhEnMjDlRZLEc6H5izvi6i/XoqLS2uUiGS0+QmDABrBJeiOyrMJ81ZwmD9oX6mRxTS4tjHFD9T6gUxSe72guxRpGwse6YSeNCCP6Gp2l1Hnh2r8lr4OWIJLC5EzPk1gVWk4ml8ZA7iCeS7coaWP9wMJRpi
+ipCeoUb9ug2VBTo2KrSX1w18JMgKOCxvRDMbniHPXj1OY0pMyYsteu05+Ra4XcjqeCbB+ZAnHE/9HR51QE1RNnagxT4kzFK7BJpdsGCff30h5V6T1rzc9YJUDbNH64f1IBP1wWIBDYVGLILDkQb9bo9sEYGs8EpQDxZFoSFP0fQ==
                                                                               Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 37 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: YFQHDD Socks Women Soft Breathable Combed Cotton Socks Striped Flower Smiley Retro Cute Socks Autumn Winter Socks : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/YFQHDD-Breathable-Combed-Cotton-Striped/dp/B0BR38KNCC/ref=sr_1_1

   Collection Date
   Fri, 21 Apr 2023 09:46:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qW5gWDpwACT0QtgSaPthXApBpVgZD3+3ktFiDOEpQ5TUhqM+T+vdJYtqorcF5R2FI+1WcQGkSnwckzvFf3nZFGOhfByNPJrbC+zXt/Lzlu1ZaVooSqFpTmMmTEkQJ49MSlXv2nL3kjaHWBkRWLd6Hxmnr70EH6I4/2UeQWlLtkw=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]YFQHDD-Breathable-Combed-Cotton-Striped[fs]dp[fs]B0BR38KNCC[fs]ref=sr_1_1]]_Fri,-21-Apr-2023-09-46-27-GMT.pdf

   Hash (SHA256)
   474ef9138bd4e46870e4c03f7b42be0354f36ec9d29845b48235db9294824f71

   Signature (PKCS#1v1.5)
byAv5O0r1eKB4MbDDOCqG5A78Rg0YtCuq2Guk+6zgDQ1K0vjMgX/0p7BCwU8qQtNng7MCQ5LonJpdutcthlB26xJBh3LsUp30Kw5+efoB5IykYJ3cbHljssY0SD9gAl672fU6sjSY6oR/DCA1hcsdfW7b/3gdG8i3wbdVo6xzDw=
                                                                                Case 0:23-cv-61203-AHS Document 39-1 Entered on FLSD Docket 07/27/2023 Page 38 of 38



                                                                                                                                                                                                    Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 23:09:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   G3MEf8rd+G3/BaTw+B2GEWInID8/7Gut7T6lwEwFGyO2xS8bLo4AVmj/KCmmkebqeqrKz1nXK9xbJCvBT3DbjCJ7elN+LXW5IAsAByVPbPFHN8dO7a/KF1uUD14b761nVl9MHCeAMb1NJ08vzCOHOGONZ/
   rUWadtIxfeL9JchV1snMjEF1sqVT0dZzVTg8RcNSdf9GIOqL1U3zbUKOZXSYt2E5t/UHbAwdFnuNaHzbeSmxot0aydK+5OmtJV4MN3KiE6EA36VtsKayIQVMJcCwvBADoK1/VanWXaPjlEcIui/kC/YH48G1w+BhZhJTLJ8XX+jAXGNIzRF8gsaPMmyg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-23-09-29-GMT.mhtml

   Hash (SHA256)
   04f9a759e789279982a516d0e947c80cbaf00ae5872b6f87f7ecf08b60144649

   Signature (PKCS#1v1.5)
L+GyVJz62qqIjti2LGrFqWom755KNKHOtCR1BJCLiwdUtWVaoLT9Vk3ltMfrASLDmoue9OjUdVQIQAdKmFQnB0Du93PBsYCEKkCfLkhQX0NoyrjsOulDM4VcAoaFwaZesLkQTp41lgs1Ta2FNG+fS+LU6h9rRaw62OFZ65xhUfdUMn
+7pzLybDpiCShnYZrMYkouYFPAuJJvyPGq64XfUqJxm9nAV8oCHcLbcfSqNHKDWRk6zdcuR8wbCK8mWqEx9sJtUgm7D/a4IcmQL9O0wlS9u/8gx1r0aKAIr8fxUHcuSYFk4j4wMzc67eYtrecXnR8Mf4RUR5hP9u58BWDPrg==
